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AFFIDAVIT OF SERVICE

 

 

 

 

 

 

Case: Court: County: Job:

1:20-cv-771- | United States District Court for the Distric of New 4757889

JD Hampshire

Plaintiff / Petitioner: Defendant / Respondent:

James Harper Charles P. Rettig, in his official capacity as Commissioner of the
Internal Revenue Service, et al.

Received by: For:

CPI - Columbia Process and Investigative Services LLC New Civil Liberties Alliance

 

To be served upon:
Internal Revenue Service

 

 

 

|, Marquis Harris, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/Address: Internal Revenue Service, 1111 Constitution Avenue NW, Washington, D.C. 20224
Manner of Service:

Documents: Summons, Important Notice, Affidavit of Mark G. Anderson, Notice of Filing Amended Complaint, First
Amended Complaint, Exhibits

Additional Comments:

On August 06, 2020 at 3:24 PM, | served the Recipient, Internal Revenue Service, the referenced documents at the referenced address
via Certified Mail with a Return Receipt, due to the COVID-19 restrictions. According to the United States Postal Service, the referenced
documents were delivered On August 10, 2020 at 7:30 AM. See Attached.

| solemnly declare and affirm under the penalty of perjury that the contents of the foregoing paper are true to the best of my
knowledge, information, and belief.

Vy A cn
Mayquis Harris Date

CPI - Columbia Process and Investigative Services LLC
5406 Connecticut Avenue, N.W. Suite 108
Washington, DC 20015
